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PEREZ MORRIS LLC                                    Attorney for Defendant,
BY: JENNIFER SHORR                                  American Airlines, Inc. (incorrectly
ATTORNEY I.D. NO. 74373                             designated as American Airlines Group,
1 INTERNATIONAL BLVD.                               Inc. and American Airlines, Inc.)
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

GREGORY LAGANA                              :
                                            : CASE NO: 2:19-CV-00435 – MCA-SCM
v.                                          :
                                            :
AMERICAN AIRLINES GROUP,                    :
INC., AMERICAN AIRLINES, INC.,              :
JOHN DOE AMERICAN AIRLINES                  :
FLIGHT ATTENDANTS 1-5 (fictitious           :
designations)                               :


                                 ENTRY OF APPEARANCE

TO THE CLERK OF COURT:

       Kindly enter my appearance as counsel on behalf of defendant, American Airlines, Inc.

(incorrectly designated as American Airlines Group, Inc. and American Airlines, Inc.) in the above

captioned matter.

                                             PEREZ MORRIS LLC




                                             By:
                                                     Jennifer Shorr
                                                    Attorney for Defendant, American Airlines,
                                                    Inc. (incorrectly designated as American
                                                    Airlines Group, Inc. and American Airlines,
                                                    Inc.)
